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 1   Terrance Walker, in propria persona
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 3   Email: walkerbillion@gmail.com

 4                    IN THE UNITED STATES DISTRICT COURT FOR NEVADA
       ____________________________________________________________________________
 5   Terrance Walker                      : CIVIL CASE NO. 3:18-CV-0132-MMD(CBC)
              Plaintiff,                   :FIRST
 6                           vs.          : MOTION TO EXTEND TIME TO RESPOND TO
     Intelli-heart Services Inc., et. Al. : DANIEL GERMAIN’S “MOTION TO DISMISS”
 7            Defendants.                  : UNTIL DISCOVERY STAY IS LIFTED
 8    _____________________________________________________________________________

 9   COMES NOW Plaintiff Terrance Walker (“Plaintiff” or “Walker”) moving to extend, stating:

10      I.       BACKGROUND
        1) The FAC was filed in Aug. 2018 and it was amended to the SAC on April 9, 2019.
11
        2) Walker recently added three parties and four claims (See EFC 135) (EFC 136; SAC).
12
        3) The Court stayed Discovery (EFC 157) while Walker was awaiting to see if the Court
13
              would i) compel discovery of interrogatory responses (EFC 113), ii) find Defendant HIS
14
              waived and/or made improper assertions of attorney-client privilege (EFC 150), and iii)
15            waived confidentiality (EFC 152). Walker objected to denials of these motions (EFC 162)
16      4) Defendant Daniel Germain (“Germain”) filed a “Motion to Dismiss” (EFC 159) with a
17            Declaration in support (EFC 160) on May 2, 2019, claiming free speech and privilege (to,

18            inter alia, make false statements to the VA about Walker’s subcontracting status)

19      5) The Court should extend the time for Plaintiff to respond to Germain’s summary judgment
              style motion (EFC 159) given the court stayed discovery and Walker’s response is
20
              dependent upon the resolution of Walker’s discovery issues (especially given allegations
21
              made in regards to Germain’s supposed “privileged” communications that Walker is
22
              unable to assail without ALL of the documents in question).
23
        6) Walker’s response should be allowed to follow the resolution of his discovery contentions
24            (in EFC 113, 150, and 152) or the Objection thereto (EFC 162). Defendant mistakenly
25            believes it does not have to undergo discovery after making its factual challenges in its
26            summary judgment motion mislabeled a “motion to dismiss” (EFC 159, pg 7 ll. 23-28)
27      II.      MEMORANDUM OF LAW

28               A. POINTS AND AUTHORITIES

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 1         1. MOTIONS TO DISMISS WITH EXHIBITS ARE CONSTRUED AS
              SUMMARY JUDGMENT
 2

 3            “[W]hen evidence outside of the pleadings are presented in a motion to dismiss under
 4            Rule 12(b)(6), a court must treat the motion as one for summary judgment. Fed. R.
 5            Civ. P. 12(d). McKinnon v. City of Merced 1:18-cv-01124-LJO-SAB, at *2 (E.D. Cal.
 6            Dec. 17, 2018)
 7         2. Fed. R. Civ. P. 6(b)(1)

 8            Fed. R. Civ. P. 6(b)(1) governs enlargements of time and provides as follows:

 9
              “When an act may or must be done within a specified time, the court may, for good
10
              cause, extend the time: (A) with or without motion or notice if the court acts, or if a
11
              request is made, before the original time or its extension expires; or (B)
12
              on motion made after the time has expired if the party failed to act because of
13
              excusable neglect.”
14            The proper procedure, when additional time for any purpose is needed, is to present a
15            request for extension of time before the time fixed has expired. Canup v. Mississippi
16            Val. Barge Line Co., 31 F.R.D. 282 (W.D.Pa. 1962). Extensions of time may always be
17            asked for, and usually are granted on a showing of good cause if timely made under
18            subdivision (b)(1) of the Rule. Creedon v. Taubman, 8 F.R.D. 268 (N.D. Ohio 1947).
19
           3. LR IA 6-1(a), “REQUESTS FOR CONTINUANCE, EXTENSION OF TIME,
20            OR ORDER SHORTENING TIME”
              LR IA 6-1(a), states “A motion or stipulation to extend time must state the reasons for
21
              the extension requested and must inform the court of all previous extensions of the
22
              subject deadline the court granted. (Examples: ‘This is the first stipulation for
23
              extension of time to file motions.” ‘This is the third motion to extend time to take
24
              discovery.’). …”
25         4. LR 26-1. DISCOVERY PLANS AND MANDATORY DISCLOSURES
26            LR 26-1 provides, “(a) Fed. R. Civ. P. 26(f) Meeting; Filing and Contents of
27            Discovery Plan and Scheduling Order. The pro se plaintiff or plaintiff’s attorney must
28            initiate the scheduling of the conference required by Fed. R. Civ. P. 26(f) to be held


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 1                within 30 days after the first defendant answers or otherwise appears. Fourteen days
 2                after the mandatory Fed. R. Civ. P. 26(f) conference, the parties must submit a

 3                stipulated discovery plan and scheduling order”

 4             5. F.R.Civ.P 16
                  Rule 16 control scheduling order modification; requiring good cause. See Johnson v.
 5
                  Mammoth Recreations, Inc., 975 F.2d 604, 607-08 (9th Cir. 1992)
 6
         II.      ANALYSIS
 7
                  Germain submitted evidence with his motion to dismiss (challenging Walker’s factual
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     assertions in the SAC), mandating that Germain’s motion be considered a motion for summary
 9   judgment. McKinnon v. City of Merced 1:18-cv-01124-LJO-SAB, at *2 (E.D. Cal. Dec. 17,
10   2018) When a factual sufficiency challenge is made, "discovery must be allowed, with
11   opportunities to supplement evidence based on the factual challenges, before any decision is

12   made by the court." Planned Parenthood Fedn. of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d

13   828, 834 (9th Cir. 2018), amended, 897 F.3d 1224 (9th Cir. 2018)..
                  To resolve the Germain’s claims of privilege, free speech, and other claims in regards
14
     to the communications it claims that it did not make concerning Walker NOT being
15
     subcontractor, Walker needs discovery from the parties. Walker needs depositions (mainly from
16
     Daniel Germain), request for admissions, and interrogatories. Also, Walker’s discovery issues
17
     need to be resolved (EFC 113, 150, 152, 162) which would shed light on whether or not Germain
18   was, indeed, under privilege or if he (as Walker alleges) was not privileged because he (as a favor
19   to a fried/pal Danny Weisburg) lied to the VA about Walker’s subcontracting status in
20   furtherance of a tort (See e.g. EFC 150). As such, an extension of, at least, the time in which
21   should be granted. LR IA 6-1(a).

22                Since there are other new Defendants make their appearance, the parties are required
     to have scheduling conference. Fed. R. Civ. P. 26(f); LR 26-1 to make sure these deadlines are
23
     suitable.
24
               Walker establishes, further, good cause for the extension by the fact that all of the new
25
     parties have not even entered an appearance and will have to participate in making a scheduling
26
     order. F.R.Civ.P 16(b); Fed. R. Civ. P. 26(f); LR 26-1; Johnson v. Mammoth Recreations,
27
     Inc., Id.
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                                                         3
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 1           WHEREFORE, Walker requests that the time to respond to the motion for summary
 2   judgment (styled a “motion to dismiss”0 be extended out 21 days past the time the discovery

 3   issues are resolved (EFC 113, 150, 152, 162)

 4           Respectfully submitted,
     By /s/ Terrance Walker                                          Dated: May 3, 2019
 5
     Terrance Walker
 6
                                          CERTIFICATE OF SERVICE
     The undersigned certifies that the undersigned is over the age of 18 and that on May 3, 2019, that he
 7   personally served via the Court’s electronic filing system all parties to this case one copy of this filing to the
     parties at the email address listed below.
 8
     /s/ TERRANCE WALKER
 9
     signed, /s/Terrance Walker
10   Copy to: Kristen and Will Geddes, Esq.
     THE GEDDES LAW FIRM, P.C.
     8600 Technology Way, Suite 107
11
     Reno, Nevada 89521
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